REV. 1/13, ase 21-00833-5-JNC

Doc 69 Filed 04/19/21 Entered 04/19/21 11:48:30 Page 1of1

 

 

 

4. MAILING ADDRESS (Include city, state, zip code)

E.D.NAC.
Local Form UNITED STATES BANKRUPTCY COURT
Read Instructions on Back: TRANSCRIPT ORDER FORM
1. NAME 2. PHONE NUMBER 3. DATE
|Christopher Coleman 404-881-7000 [Apr 19, 2021

5. EMAIL ADDRESS:

 

11201 West Peachtree Street NE, Atlanta, GA 30309

 

 

chris.coleman@alston.com

 

6. CASE NUMBER

 

I21 -00833
8. CASE NAME

9, DATE OF PROCEEDING

 

7. JUDGE PRESIDING

 

 

Judge Joseph N. Callaway

 

 

Platinum Corral, L.L.C.

 

Apr 16, 2021

10. LOCATION OF PROCEEDING

 

New Bern Division

 

11. TRANSCRIPT ORDER FORM

[x BANKRUPTCY CASE

12. TRANSCRIPT REQUESTED

(Specify portion and date(s) of proceeding for which transcript is requested)

r

ADVERSARY PROCEEDING

 

PORTION(s)

DATE(S)

 

[x ENTIRE PROCEEDING

JApr 16,2021

 

[ OPINION OF COURT

 

[ OPENING STATEMENT (Plaintiff)

 

 

i OPENING STATEMENT (Defendant)

PC

 

i CLOSING ARGUMENT (Plaintiff)

 

J CLOSING ARGUMENT (Defendant)

 

 

i WITNESS TESTIMONY (Specify name of witness)

 

T WITNESS TESTIMONY (Specify name of witness)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13. ORDER
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ATEGORY (Includes Free E-Transcript for the Court) ADDITIONAL COPIES
ORDINARY [
14-DAY TRANSCRIPT — C
EXPEDITED [x t
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CERTIFICATION (14 & 15)
By signing below, | certify that | will pay all charges.
14. SIGNATURE “
(TMs AN ALAA
15. DATE
lApr 19, 2021
ORDER RECEIVED DATE
TRANSCRIPT ORDERED DATE

 

TRANSCRIPT RECEIVED

 

DATE

 

 

 
